           Case 3:21-cv-05636-RSM-BAT Document 11 Filed 11/05/21 Page 1 of 3




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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   CHRISTOPHER LEON SMITH,

 9                              Plaintiff,                CASE NO. 3:21-cv-5636-RSM-BAT

10           v.                                           PRETRIAL SCHEDULING ORDER

11   STATE OF WASHINGTON, et al.,

12                              Defendant.

13          This case has been referred to the undersigned United States Magistrate Judge for all
14   pretrial proceedings. The Court has reviewed the parties’ Joint Status Report (Dkt. 10) and issues
15   the following pretrial schedule:
16                                      Event                                       Date
17      Deadline for joining additional parties                               January 4, 2022
18      Deadline for amending pleadings                                       February 4, 2022
19
        Reports of expert witnesses under FRCP 26(a)(2) due                      May 6, 2022
20
        Reports of rebuttal expert witnesses under FRCP 26(a)(2) due            June 6, 2022
21
        All motions related to discovery must be noted for consideration        June 27, 2022
        no later than
22
        Discovery to be completed by                                            July 29, 2022
23




     PRETRIAL SCHEDULING ORDER - 1
           Case 3:21-cv-05636-RSM-BAT Document 11 Filed 11/05/21 Page 2 of 3




 1      All dispositive motions must be filed pursuant to CR 7(d)               August 15, 2022

 2
        All Daubert motions must be filed by (same as dispositive)              August 15, 2022
 3
        Mediation per CR 39.1(c)(3) held no later than                          August 31, 2022
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 6          This order sets firm dates that can be changed only by order of the Court, not by

 7   agreement of counsel for the parties. The Court will alter these dates only upon good cause

 8   shown. Failure to complete discovery within the time allowed is not recognized as good cause.

 9   If any of the dates identified in this Order or the Local Civil Rules fall on a weekend or federal

10   holiday, the act or event shall be performed on the next business day.

11                                             TRIAL DATE

12          A trial date will be set by the assigned District Judge, the Honorable Ricardo S. Martinez,

13   if the case has not been resolved by settlement.

14                                DISCOVERY AND COOPERATION

15          As required by CR 37(a), all discovery matters are to be resolved by agreement if

16   possible. Counsel are also directed to cooperate in preparing the final pretrial order in the format

17   required by CR 16.1, except as ordered below.

18                      FINDINGS OF FACT AND CONCLUSIONS OF LAW

19          Where appropriate, the parties are encouraged to work together in the creation of

20   proposed findings of fact and conclusions of law. On or before the deadline for filing proposed

21   findings and conclusions the parties shall email their proposed findings and conclusions in Word

22   format to tsuchidaorders@wawd.uscourts.gov.

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     PRETRIAL SCHEDULING ORDER - 2
             Case 3:21-cv-05636-RSM-BAT Document 11 Filed 11/05/21 Page 3 of 3




 1                                           PRIVACY POLICY

 2           Under LCR 5.2(a), parties must redact the following information from documents and

 3   exhibits before they are filed with the Court:

 4       ∗ Dates of Birth – redact to the year of birth, unless deceased.
         ∗ Names of Minor Children – redact to the initials, unless deceased or currently over the
 5         age of 18.
         ∗ Social Security or Taxpayer ID Numbers – redact in their entirety
 6       ∗ Financial Accounting Information – redact to the last four digits.
         ∗ Passport Numbers and Driver License Numbers – redact in their entirety.
 7
                                    MEDIATION AND SETTLEMENT
 8
             The Court designates this case for mediation under CR 39.1(c) and the parties are
 9
     directed to follow through with the procedures set forth in that rule. If this case settles, Plaintiff’s
10
     counsel shall notify Andy Quach at (206) 370-8421 or via e-mail at: Andy_Quach@
11
     wawd.uscourts.gov, as soon as possible. Pursuant to CR11(b), an attorney who fails to give the
12
     Deputy Clerk prompt notice of settlement may be subject to such discipline as the Court deems
13
     appropriate.
14

15
             DATED this 5th day of November, 2021.
16

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18
                                                             A
                                                             BRIAN A. TSUCHIDA
                                                             United States Magistrate Judge
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     PRETRIAL SCHEDULING ORDER - 3
